
PER CURIAM.
REVERSED. Acker v. City of Clearwater, 755 So.2d 651 (Fla. 1st DCA 1998). We certify the following question:
WHERE AN EMPLOYER TAKES A WORKERS’ COMPENSATION OFFSET UNDER SECTION 440.20(15), FLORIDA STATUTES (1985), AND INITIALLY INCLUDES SUPPLEMENTAL BENEFITS PAID UNDER SECTION 440.15(l)(e)(l), FLORIDA STATUTES (1985), IS THE EMPLOYER ENTITLED TO RECALCULATE THE OFFSET BASED ON THE YEARLY 5% INCREASE IN SUPPLEMENTAL BENEFITS?
We affirm as to the issue on cross appeal without further comment.
ERVIN, BOOTH and VAN NORTWICK, JJ„ concur.
